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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 UNITED STATES OF AMERICA,                           )
                                                     )
             Plaintiff,                              )        Case No. 4:22-2632
                                                     )
             v.                                      )
                                                     )
 JEFFREY M. GARRETT,                                 )
 LAKEVIEW LOAN SERVICING, LLC, and                   )
 MARLENE ELIZABETH RAWLS,                            )
                                                     )
             Defendants.                             )
                                                     )

                  NOTICE OF LIS PENDENS—HARRIS COUNTY, TEXAS

TO WHOM IT MAY CONCERN:

        PLEASE TAKE NOTICE that on August 5, 2022, the United States of America

commenced an action in the United States District Court for the Southern District of Texas,

Houston Division, against Defendants Jeffrey M. Garrett, Lakeview Loan Servicing, LLC, and

Marlene Elizabeth Rawls to enforce federal tax liens and to sell certain real property free and

clear of the liens and claims of all parties to the action.

        The real property at issue in the foreclosure proceeding is located at 18646 Mosshill

Estates Lane, Cypress, Texas 77429 ("the Property"). The legal description of the Property is as

follows:

        LOT TWO (2), IN BLOCK TWO (2), OF CYPRESS MILL ESTATES,
        SECTION THREE (3), A SUBDIVISION IN HARRIS COUNTY, TEXAS,
        ACCORDING TO THE MAP OR PLAT THEREOF RECORDED IN FILM
        CODE NO. 442009 OF THE MAP RECORDS OF HARRIS COUNTY, TEXAS.

        For further information concerning this action, reference may be made to the records of

the Clerk for the United States District Court for the Southern District of Texas, Houston

Division.
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Dated: August 5, 2022                     Respectfully submitted,

                                          DAVID A. HUBBERT
                                          Deputy Assistant Attorney General

                                          /s/ Mary Elizabeth Smith
                                          MARY ELIZABETH SMITH
                                          Attorney-in-Charge
                                          Maryland Bar Member
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                                          Counsel for Plaintiff
                                          United States of America




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